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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

RUTH AKERS, et al.                         *

       Plaintiffs,                         *

       v.                                  *       Civil Action No. RDB-18-1797

MARYLAND STATE                             *
EDUCATION ASSOCIATION, et al.
                                           *
       Defendants.
*      *     *     *         *      *  *   *    *   *                    *      *      *
                                 MEMORANDUM OPINION

       Plaintiffs Ruth Akers (“Ms. Akers”) and Sharon Moesel (“Ms. Moesel”) (collectively,

“Plaintiffs”) bring this putative class action against the following Defendants: Maryland State

Education Association (“MSEA”), a labor union; Teachers’ Association of Baltimore County

and Teachers’ Association of Anne Arundel County, local union chapters affiliated with

MSEA, sued as representatives of the class of all chapters and affiliates of MSEA; National

Education Association (“NEA”), a labor union affiliated with MSEA; Verletta White,

interim superintendent of the Board of Education of Baltimore County, and George Arlotto,

superintendent of Anne Arundel County, sued in their official capacities as representatives of

the class of all superintendents of Maryland school districts; Larry Hogan, as Governor of

Maryland, in his official capacity; Brian Frosh, Attorney General of Maryland, in his official

capacity; and Elizabeth Molina Morgan, Robert I. Chanin, John A. Hayden III, Donald W.

Harmon, and Ronald S. Boozer, members of the Maryland Public School Labor Relations

Board, in their official capacities. (Am. Compl., ECF No. 59.) Plaintiffs are public school

teachers who were not members of the teachers’ union but were required to pay
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representation fees to the union as a condition of employment. (Id.) Plaintiffs allege

violations of their constitutionally-protected rights and various state-law torts, and they seek

injunctive and declaratory relief under 42 U.S.C. § 1983 and 28 U.S.C. § 2201. (Id.)

       Currently pending before this Court are State-Defendants’1 Motion to Dismiss

Amended Complaint (ECF No. 74) and Motion to Dismiss Amended Complaint of

Defendants Maryland State Education Association, Teachers’ Association of Baltimore

County, Teachers’ Association of Anne Arundel County, and National Education

Association [(collectively, “the Union Defendants”)] (ECF No. 75). Shortly after the filing

of this action, the United States Supreme Court issued its opinion in Janus v. Am. Fed’n of

State, Cty, and Mun. Emps., Council 31, — U.S. —, 138 S. Ct. 2448 (2018), holding that

“[s]tates and public-sector unions may no longer extract agency fees from nonconsenting

employees.” 138 S. Ct. at 2459. Plaintiffs’ claims for injunctive and declaratory relief are

now moot. Furthermore, consistent with many other courts, this Court holds that collection

of fees in good-faith reliance on then-valid law bars the Plaintiffs’ refund claims.

Accordingly, for the reasons that follow, both Motions to Dismiss (ECF Nos. 74, 75) are

GRANTED.

                                        BACKGROUND

       In ruling on a motion to dismiss, this Court “accept[s] as true all well-pleaded facts in

a complaint and construe[s] them in the light most favorable to the plaintiff.” Wikimedia

Found. v. Nat’l Sec. Agency, 857 F.3d 193, 208 (4th Cir. 2017) (citing SD3, LLC v. Black &


1       State-Defendants are identified as Defendants Governor Larry Hogan, Attorney General Brian E.
Frosh, and the members of the Maryland Public School Labor Relations Board (Elizabeth Molina Morgan,
Robert I. Chanin, John A. Hayden III, Donald W. Harmon, and Ronald S. Boozer). (Mot. 1, ECF No. 74.)


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Decker (U.S.) Inc., 801 F.3d 412, 422 (4th Cir. 2015)). This dispute involves the payment of

compulsory union dues. Ms. Akers is a public-school teacher who works for the Baltimore

County Public Schools, and Ms. Moesel teaches at Annapolis High School in the Anne

Arundel County Public Schools. (Am. Compl. ¶¶ 14, 18; ECF No. 59.) Ms. Akers does not

approve of the MSEA or its affiliates and refused to become a member, but she was required

to pay “representation fees” (also referred to as “agency fees”)2 to the MSEA as a condition

of her employment. (Id. at ¶ 15-16, 26.) Ms. Moesel was an active member of MSEA and

the Teachers Association of Anne Arundel County until she was expelled in May 2017,3 but

the union continued taking representation fees from her pay without her consent. (Id. at ¶¶

19-20.)     The MSEA was authorized under Md. Code. Education §§ 6-407(c)-(f) to extract

these fees from non-union members as a condition of their employment. (Id. at ¶ 23.)

Plaintiffs assert that by taking these fees from public-school employees, Defendants

committed the torts of conversion, trover, detinue, and trespass to chattels. (Id. at ¶ 25.)

          Plaintiffs also allege that under the recently-enacted4 Maryland House Bill 811 (“HB

811”), public-school employers are required to provide the MSEA and its affiliates with the

name, home address, home telephone numbers, and personal cell-phone numbers of each

newly-hired school employee, regardless of whether the employee consents to the disclosure.

(Id. at ¶¶ 28-32.) Additionally, Ms. Moesel alleges that public-school teachers should not be

forced to accept the union as their exclusive bargaining representative and that forcing a

2        These fees were intended to compensate the union for its efforts on behalf of non-members in the
collective-bargaining process since the union represents all public-school employees, not just members. See
Md. Code Ann., Education §§ 6-407(b)(1), 6-407(c), 6-504(b), 6-509(b).
3        Ms. Moesel alleges that she was expelled for actively opposing the union’s efforts to eliminate her
salary bonuses. (Am. Compl. ¶¶ 39-41.)
4        HB 811 was enacted on July 1, 2018. (Am. Compl. ¶ 31, ECF No. 59.)


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non-union teacher to accept union-negotiated terms of employment violates anti-trust laws

as well as their First Amendment right of freedom of association. (Id. at ¶¶ 43-48.)

        Ms. Akers initially filed the purported class-action Complaint (ECF No. 1) on June

18, 2018. A Motion for Preliminary Injunction (ECF No. 13) was filed on June 29, 2018,

seeking to prevent the enforcement of certain provisions in HB 811 from taking effect on

July 1, 2018. Plaintiffs later agreed to withdraw the motion on the basis that HB 811 had

already taken effect. (See ECF No. 105.) Plaintiffs filed the operative Amended Complaint

on September 7, 2018,5 adding Ms. Moesel as a Plaintiff and adding Verletta White and

George Arlotto as Defendants. (ECF No. 59.) Both Verletta White and George Arlotto

filed Motions to Dismiss (ECF Nos. 80, 83), to which Plaintiffs did not respond and later

agreed could be granted. (ECF No. 105.) The Amended Complaint contains the following

requests: (1) a declaration under the Declaratory Judgment Act, 28 U.S.C. § 2201, that the

requirement for non-union members to pay representation fees is unconstitutional; (2) all

representation fees that have been collected must be refunded under 42 U.S.C. § 1983; (3) a

declaration that the compelled disclosure of personal information under HB 811 is

unconstitutional; (4) a declaration that the union’s exclusive representation in the bargaining

process is unconstitutional and a claim against MSEA and its local affiliates that exclusive

representation violates federal antitrust law; and (5) State-law tort claims of conversion,

trover, detinue, and trespass to chattels, invoking supplemental jurisdiction.

        The State-Defendants and the Union Defendants filed motions to dismiss under

Federal Rules of Civil Procedure 12(b)(1) and (6) for lack of subject matter jurisdiction and
5       Earlier-filed motions to dismiss the original Complaint were subsequently denied as moot. (ECF No.
105.)


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failure to state a claim. (ECF Nos. 74, 75.) For the following reasons, Defendants’ motions

shall be GRANTED. Specifically, Plaintiffs’ constitutional challenges to the representation

fee provision shall be DISMISSED AS MOOT, and the request for a refund of fees under

42 U.S.C. § 1983 shall be DISMISSED WITH PREJUDICE as barred by Defendants’ good-

faith defense.     Further, the remaining claims shall be DISMISSED WITHOUT

PREJUDICE: the challenge to exclusive representation is foreclosed by United States

Supreme Court precedent; Plaintiffs have failed to sufficiently plead that their constitutional

right of association and freedom of speech have been implicated by the disclosure of their

contact information to the union under HB 811; Ms. Moesel fails to allege a plausible

antitrust claim; and with the dismissal of the federal claims, this Court declines to exercise

supplemental jurisdiction over the remaining state-law claims.

                               STANDARDS OF REVIEW

 I.    Subject Matter Jurisdiction

       A motion to dismiss under Rule 12(b)(1) of the Federal Rules of Civil Procedure for

lack of subject matter jurisdiction challenges a court’s authority to hear the matter brought

by a complaint. See Davis v. Thompson, 367 F.Supp.2d 792, 799 (D. Md. 2005). Under Article

III of the United States Constitution, the judicial power of the United States extends only to

“cases” and “controversies.” Already, LLC v. Nike, Inc., 568 U.S. 85, 90 (2013). “A case

becomes moot—and therefore no longer a ‘Case’ or ‘Controversy’ for purposes of Article

III—‘when the issues presented are no longer “live” or the parties lack a legally cognizable

interest in the outcome.’” Id. at 91 (quoting Murphy v. Hunt, 455 U.S. 478, 481 (1982)). “No

matter how vehemently the parties continue to dispute the lawfulness of the conduct that



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precipitated the lawsuit, the case is moot if the dispute ‘is no longer embedded in any actual

controversy about the plaintiff’s particular legal rights.’” Id. (quoting Alvarez v. Smith, 558

U.S. 87, 92 (2009)).

       Accordingly, a court’s subject matter jurisdiction depends on the existence of an

actual case or controversy. S.C. Coast Conservation League v. U.S. Army Corps. of Eng’rs, 789

F.3d 475, 482 (4th Cir. 2015). Under Rule 12(b)(1), the plaintiff bears the burden of proving,

by a preponderance of the evidence, the existence of subject matter jurisdiction. Demetres v.

East West Const., Inc., 776 F.3d 271, 272 (4th Cir. 2015); Lovern v. Edwards, 190 F.3d 648, 654

(4th Cir. 1999).

       A challenge to jurisdiction under Rule 12(b)(1) may proceed either as a facial

challenge, asserting that the allegations in the complaint are insufficient to establish subject

matter jurisdiction, or a factual challenge, asserting “that the jurisdictional allegations of the

complaint [are] not true.” Kerns v. United States, 585 F.3d 187, 192 (4th Cir. 2009) (citation

omitted). In a facial challenge, a court will grant a motion to dismiss for lack of subject

matter jurisdiction “where a claim fails to allege facts upon which the court may base

jurisdiction.” Davis, 367 F. Supp. 2d at 799. Where the challenge is factual, however, “the

district court is entitled to decide disputed issues of fact with respect to subject matter

jurisdiction.” Kerns, 585 F.3d at 192. The court, therefore, “may regard the pleadings as

mere evidence on the issue and may consider evidence outside the pleadings without

converting the proceeding to one for summary judgment.” Velasco v. Gov’t of Indonesia, 370

F.3d 392, 398 (4th Cir. 2004); see also Cunningham v. Gen. Dynamics Info. Tech., Inc., 888 F.3d

640, 650 (4th Cir. 2018).



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II.    Failure to State a Claim

       Under Rule 8(a)(2) of the Federal Rules of Civil Procedure, a complaint must contain

a “short and plain statement of the claim showing that the pleader is entitled to relief.” Fed.

R. Civ. P. 8(a)(2). Rule 12(b)(6) procedure authorizes the dismissal of a complaint if it fails to

state a claim upon which relief can be granted. Fed. R. Civ. P. 12(b)(6). The purpose of Rule

12(b)(6) is “to test the sufficiency of a complaint and not to resolve contests surrounding the

facts, the merits of a claim, or the applicability of defenses.” Presley v. City of Charlottesville, 464

F.3d 480, 483 (4th Cir. 2006); see also Goines v. Valley Cmty. Servs. Bd., 822 F.3d 159, 165-66

(4th Cir. 2016).

       To survive a motion under Fed. R. Civ. P. 12(b)(6), a complaint must contain facts

sufficient to “state a claim to relief that is plausible on its face.” Bell Atl., Corp. v. Twombly,

550 U.S. 544, 570 (2007); Ashcroft v. Iqbal, 556 U.S. 662, 684 (2009). Under the plausibility

standard, a complaint must contain “more than labels and conclusions” or a “formulaic

recitation of the elements of a cause of action.” Twombly, 550 U.S. at 555; see Painter’s Mill

Grille, LLC v. Brown, 716 F.3d 342, 350 (4th Cir. 2013). A complaint need not include

“detailed factual allegations.” Twombly, 550 U.S. at 555; Iqbal, 556 U.S. at 678. A complaint

must, however, set forth “enough factual matter (taken as true) to suggest” a cognizable

cause of action, “even if . . . [the] actual proof of those facts is improbable and . . . recovery

is very remote and unlikely.” Twombly, 550 U.S. at 556 (internal quotations omitted).

“Threadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice” to plead a claim. Iqbal, 556 U.S. at 678; see A Society Without a

Name v. Virginia, 655 F.3d 342, 346 (4th. Cir. 2011).



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       In reviewing a Rule 12(b)(6) motion, a court “must accept as true all of the factual

allegations contained in the complaint” and must “draw all reasonable inferences [from

those facts] in favor of the plaintiff.” E.I. du Pont de Nemours & Co. v. Kolon Indus., Inc., 637

F.3d 435, 440 (4th Cir. 2011) (citations omitted); Hall v. DirectTV, LLC, 846 F.3d 757, 765

(4th Cir. 2017). Legal conclusions drawn from those facts, however, are not afforded such

deference. Iqbal, 556 U.S. at 678.

                                          ANALYSIS

       In 1977, the United States Supreme Court issued a decision upholding the

constitutionality of representation fees paid to unions. Abood v. Detroit Bd. of Ed., 431 U.S.

209 (1977). In Abood, the Court concluded that, although compulsory agency fees impinge

employees’ First Amendment rights to some extent, the mandatory fees were nevertheless

justified by the State’s compelling interest in “labor peace”; i.e., the logistical and managerial

benefits that accrue when an employer negotiates only with one exclusive representative. 431

U.S. at 232-37. This is the very behavior about which the Plaintiffs complain. However,

shortly after the filing of this lawsuit, on June 27, 2018, the United States Supreme Court

decided Janus v. Am. Fed’n of State, Cty, and Mun. Emps., Council 31, — U.S. —, 138 S. Ct. 2448

(2018), which expressly overturned Abood, holding that “States and public-sector unions may

no longer extract agency fees from nonconsenting employees.” 138 S. Ct. at 2459. Janus

reaffirmed that labor peace is a compelling state interest, but it overruled Abood’s holding

that labor peace justifies requiring non-union members to pay agency fees. Id. at 2465-66.

       Maryland and other states that had allowed unions to charge representation fees

under Abood’s guidance, recognized that the law of the land had changed and responded



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     accordingly.   Regardless, Plaintiffs seek declaratory and injunctive relief, stating that

     Defendants’ voluntary cessation of unconstitutional actions does not moot their lawsuit. In

     addition, Plaintiffs also request this Court to order repayment of all representation fees that

     had been previously collected. Plaintiffs also seek relief related to HB 811’s requirement for

     disclosure of contact information, and Ms. Moesel challenges the principle of exclusive

     representation by the union. Each of these claims shall be addressed in turn.

I.          Constitutional Claims are Moot

            Plaintiffs’ claims for declaratory and injunctive relief are moot. On the same day that

     Janus was decided, the Teachers’ Association of Baltimore County and the Teachers’

     Association of Anne Arundel County contacted the Boards of Education of Baltimore

     County and Anne Arundel County, respectively, to notify them of the Janus decision and to

     instruct them immediately to cease deducting representation fees from their employees’

     paychecks. (See Galante Decl. ¶ 16, Ex. A, ECF No. 47-1; Jones Decl. ¶ 16, Ex. B, ECF No.

     75-6.) The two Boards complied with that instruction. (Galante Decl. ¶ 17; Jones Decl. ¶

     17.) The Teachers’ Association of Baltimore County and the Teachers’ Association of Anne

     Arundel County have not subsequently received any representation fees. (Id.)

            Further, the Maryland State Education Association (“MSEA”) sent letters to every

     representation-fee payer, including Plaintiffs, explaining the Janus decision, informing the

     feepayers that no further representation fees would be deducted from their paychecks, and

     informing them that MSEA would promptly be refunding to them any fees that might have

     been pre-paid for the period after June 27, 2018. (Helfman Decl. ¶ 7, Ex. A., ECF No. 47-

     2.) Refund checks were issued for all such pre-collected fees. (Id. at ¶ 9.) Based upon these



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actions, combined with the declaration that they will not be resuming the deduction of

representation fees from employees’ paychecks, the Union Defendants assert that Plaintiffs’

request for declaratory and injunctive relief is moot. (Defs.’ Mot. Mem. 5, ECF No. 75-1.)

The Union Defendants also assert a good-faith defense to liability for refunding fees

collected prior to the Janus decision. (Id. at 11.) The State-Defendants also move to dismiss

as moot the injunctive and declaratory relief claims in light of the decision in Janus. (Defs.’

Mot. Mem. 4, ECF No. 74.)

        Plaintiffs argue that their claims for prospective relief are not moot based on the

voluntary cessation doctrine. (Pls.’ Resp. 1, ECF No. 87.) 6 They also argue that the “good-

faith defense” does not warrant dismissal of the refund claims at this stage of the litigation.

(Id. at 14.)7

        Since the Janus decision, multiple courts have had an opportunity to address similar

claims and arguments in their jurisdictions and have uniformly held that plaintiffs’

prospective claims were rendered moot under similar circumstances, and the good-faith

defense bars refund claims. See, e.g., Lee v. Ohio Educ. Ass’n., — F. Supp. 3d —, 2019 WL

1323622, at *1 (N.D. Ohio Mar. 25, 2019) (“[T]he Court joins an ever-growing number of

courts that have found that causes of action seeking to enjoin collection of fair-share fees

and recoup damages based on prior collection of those fees must be dismissed in light of


6        The voluntary cessation doctrine refers to situations that do not deprive a federal court of its power
to hear and determine a case, even when a defendant has voluntarily ceased the challenged practice, because
the allegedly wrongful behavior could reasonably be expected to recur. See Porter v. Clarke, 852 F.3d 358, 360
(4th Cir. 2017) (citing Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 190 (2000)).
7        The good-faith defense refers to a protection from liability under 42 U.S.C. § 1983 by private citizens
who have relied in good faith on then-existing laws that were presumptively valid. See Wyatt v. Cole, 504 U.S.
158, 168 (1992).


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Janus . . . .”); Carey v. Inslee, — F. Supp. 3d —, 2019 WL 1115259, at *1 (W.D. Wash. Mar. 11,

2019)(holding that the requests for prospective injunctive and declaratory relief were moot,

and agency fees were collected in good-faith reliance on then-valid law); Cook v. Brown, — F.

Supp. 3d —, Case No. 6:18-cv-01085-AA, 2019 WL 982384 (D. Or. Feb. 28, 2019) (same);

Mooney v. Illinois Educ. Ass’n, — F. Supp. 3d —, Case No. 1:18-cv-1439, 2019 WL 1575186, at

*2 (C.D. Ill. Apr. 11, 2019) (recognizing the growing consensus concluding that fees

collected prior to Janus may not be recovered).

       The Court of Appeals for the Fourth Circuit has not yet had an opportunity to weigh

in, nor have other district courts in this Circuit. However, this Court agrees with the

reasoning in these decisions and incorporates it herein. In sum, Plaintiffs’ request for

injunctive relief is moot because the union’s communications are reliable evidence of a

permanent shift in policy and the challenged conduct cannot be reasonably expected to

recur, and declaratory relief is moot because there is no immediate legal controversy.

Further, this Court shall dismiss with prejudice Plaintiffs’ claim for a refund of the

representation fees that had been paid prior to the Janus decision. The collection of those

fees was authorized by state statute and pursuant to Supreme Court precedent, and the

good-faith defense bars Plaintiffs’ claim. See Williams v. Johnson, 386 F. Supp. 280, 288-89 (D.

Md. 1974).

       Accordingly, the declaratory and injunctive claims shall be dismissed as moot. The

refund claims shall be dismissed with prejudice because Defendants may assert the good-

faith defense, having complied with and relied upon presumptively-valid state law and

controlling Supreme Court precedent.



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II.    HB 811 Claim

       Defendants also move to dismiss Plaintiffs’ claim that the disclosure of their contact

information to the union without their consent violates their First Amendment rights.

(Defs.’ Mot. Mem. 24, ECF No. 75-1; Defs.’ Mot. Mem. 13, ECF No. 74-1.) Defendants

assert that the disclosure of Plaintiffs’ contact information by their employer to the union

that is statutorily obligated to represent them does not implicate Plaintiffs’ First Amendment

rights. (Defs.’ Mot. Mem. 14, ECF No. 74-1.) Defendants add that no expressive speech is

involved in the disclosure, and Plaintiffs’ associational choices are not implicated. (Id. at 19-

20.)

       HB 811 requires public school employers to provide their employees’ contact

information to the unions that represent them.         (See HB 811, ECF No. 59-3.)          This

requirement does not reveal any expressive activity on the part of either the employer or the

employees whose contact information is provided to the union. Unlike the disclosure in

NAACP v. State of Alabama, cited by Plaintiffs, the disclosure at issue here does not reveal an

affiliation with a union to the State’s Attorney General. 357 U.S. 449, 463 (1958). Nor is the

disclosure at issue like that in Brown v. Socialist Workers ’74 Campaign Committee, cited by

Plaintiffs, in which contributors to a minor political party were required to be disclosed for

public inspection, thus subjecting them to the reasonable probability of threats, harassment

or reprisals. 459 U.S. 87, 101-102 (1982). Further the United States Supreme Court and the

United States Court of Appeals for the Fourth Circuit have upheld the provision of personal

contact information to union representatives in related contexts. See NLRB v. Wyman-Gordon




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Co., 394 U.S. 759, 767 (1969); NLRB v. J. P. Stevens & Co., 409 F.2d 1207, 1209 (4th Cir.

1969).

         The disclosure of all employees contact information to the union does not implicate

an association with the union, it does not reveal any affiliation, nor does it prevent

employees’ anonymous speech or the employees’ right to decline joining the union. Indeed,

Plaintiffs’ allegations are clear that “all” employees contact information is provided,

regardless of union membership or political views. (Am. Compl. ¶¶ 29-33, ECF No. 59.)

Plaintiffs do not argue that the union should be prevented from contacting them, but rather

they assert their desire to protect their privacy by potentially redirecting work email or by

setting up virtual contact information. (Pls.’ Resp. 15-16, ECF No. 89.) Accordingly, the

Plaintiffs have failed to sufficiently plead that their constitutional right of association and

freedom of speech have been implicated by the disclosure of their contact information to the

union. Therefore, this claim shall be dismissed without prejudice.

III.     Exclusive Representation

         Plaintiff, Ms. Moesel, also challenges the principle of exclusive representations,

asserting that she has a constitutional right to reject union representation and to negotiate

her own salary and other terms of employment. (Am. Compl. ¶¶ 44-45, ECF No. 59.)

However, Plaintiffs have agreed with Defendants that this claim is foreclosed by Supreme

Court precedent in Minnesota State Board for Community Colleges v. Knight, 465 U.S. 271 (1984).

(Pls.’ Resp. 19-20, ECF No. 89.) Plaintiffs agree that this claim should be dismissed without

prejudice to them seeking to reopen the challenge if the Supreme Court grants certiorari in




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Bierman v. Dayton, 900 F.3d 570 (8th Cir. 2018).8 (Id. at 20-21.) Accordingly, this Court shall

dismiss this claim without prejudice.

        Plaintiff Ms. Moesel, however, continues to argue that she has an antitrust claim

against the Union Defendants. (Pls.’ Resp. 40, ECF No. 87.) Ms. Moesel alleges that the

unions have violated federal antitrust laws by negotiating and entering into collective

bargaining agreements.         (Am. Compl. ¶¶ 46-47, ECF No. 59.)                   Although not stated,

presumably this claim is based on Section 1 of the Sherman Act, 15 U.S.C. § 1.

        To plausibly allege an antitrust claim, a plaintiff “must first plead an agreement to

restrain trade.” SD3, LLC v. Black & Decker (U.S.) Inc., 801 F.3d 412, 424 (4th Cir. 2015)

(citing Twombly, 550 U.S. at 556); see also Dickson v. Microsoft Corp., 309 F.3d 193, 202 (4th Cir.

2002) (stating that a plaintiff must plausibly allege “(1) a contract, combination, or

conspiracy; (2) that imposed an unreasonable restraint of trade.”).                       Importantly, the

complaint must contain sufficient factual allegations regarding each defendant; “[a] plaintiff

in a § 1 case cannot assemble some collection of defendants and then make vague,

nonspecific allegations against all of them as a group.” SD3, 801 F.3d at 422. Ms. Moesel

makes only a conclusory assertion that “[c]ollective-bargaining agreements that command

uniform salaries for teachers regardless of subject matter are anti-competitive,” and that

“compelling entry-level teachers to accept exceedingly low salaries negotiated by a bargaining

unit that they do not belong to—and by forbidding entry-level teachers to negotiate better

deals with the school district” is a “pernicious and anti-competitive feature of collective

8        Following Knight, every Circuit court to address the constitutionality of exclusive bargaining
arrangements has concluded that these provisions do not violate the First Amendment. Mentele v. Inslee, 916
F.3d 783, 787 (9th Cir. 2019) (citing cases). Bierman, an Eight Circuit case, awaits a decision on the petition
for certiorari filed in December 2018.


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bargaining.” (Am. Compl. ¶¶ 46-47, ECF No. 59.) She adds that “[t]here is no basis in any

federal labor statute for exempting public-employee unions from the antitrust laws.” (Id. at ¶

48.)

        Plaintiff does not address her failure to plead the requisite elements of an antitrust

claim, and simply argues that the Union Defendants’ affirmative defenses are not relevant to

defeat a motion to dismiss. However, an affirmative defense can be considered by this

Court on a motion to dismiss “if the face of the complaint includes all necessary facts for the

defense to prevail.” Leichling v. Honeywell Int’l, Inc., 842 F.3d 848, 850-51 (4th Cir. 2016) (citing

Goodman v. Praxair, Inc., 494 F.3d 458, 464 (4th Cir. 2007)). Defendants assert the state-

action exception,9 the Noerr-Pennington10 exception, and the statutory labor exception set

forth in Section 6 of the Clayton Act, 15 U.S.C. § 17. This Court does not find it necessary

to analyze these defenses at this time because Plaintiff has failed to plead a plausible antitrust

cause of action.        Therefore, Ms. Moesel’s antitrust claim shall be dismissed without

prejudice.

IV.     State Law Claims

        Plaintiffs are also suing the Maryland State Education Association and its local

affiliates “under the state-law torts of conversion, trover, detinue, trespass to chattels, and

any other state-law cause of action that offers relief for this unlawful seizure of [their]


9        Federal antitrust law does not impose a burden on the States’ power to subordinate market
competition to other values deemed fundamental by the State. See N.C. State Bd. of Dental Exam’rs v. FTC, 135
S. Ct. 1101, 1109 (2015); Town of Hallie v. City of Eau Claire, 471 U.S. 34, 40 (1985); Parker v. Brown, 317 U.S.
341 (1943).
10       Referring to the Supreme Court’s decisions in Eastern R.R. Presidents Conf. v. Noerr Motor Freight, Inc.,
365 U.S. 127 (1961) and Mine Workers v. Pennington, 381 U.S. 657, 670 (1965), establishing that because the
First Amendment guarantees the right to petition government for a redress of grievances, the Sherman Act
does not extend to “a concerted effort to influence public officials regardless of intent or purpose.”


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personal property.”        (Compl. ¶ 51, ECF No. 59.) Plaintiffs invoke the supplemental

jurisdiction of this Court over these pendent state-law claims pursuant to 28 U.S.C. § 1367.

However, pursuant to 28 U.S.C. § 1367(c)(3), this Court has the discretion to decline to

exercise supplemental jurisdiction if the court “has dismissed all claims over which it has

original jurisdiction . . . .”

        In United Mine Workers of America v. Gibbs, 383 U.S. 715, 726 (1966), the Supreme

Court cautioned that “[n]eedless decisions of state law should be avoided both as a matter of

comity and to promote justice between the parties, by procuring for them a superfooted

reading of applicable law.” The Gibbs Court went on to say that “if the federal law claims are

dismissed before trial . . . the state claims should be dismissed as well.” Id. With no federal

claims remaining in this case, this Court declines, pursuant to 28 U.S.C. § 1367(c)(3), to

exercise supplemental jurisdiction over the state-law claims.

        Therefore, Plaintiffs’ state-law claims shall be dismissed without prejudice.

                                       CONCLUSION

        For the foregoing reasons:

                1.       State-Defendants’ Motion to Dismiss Amended Complaint (ECF No.
                         74) is GRANTED.

                2.       Motion to Dismiss Amended Complaint of Defendants Maryland State
                         Education Association, Teachers’ Association of Baltimore County,
                         Teachers’ Association of Anne Arundel County, and National
                         Education Association (ECF No. 75) is GRANTED.

                3.       Plaintiffs’ declaratory and injunctive claims are DISMISSED AS
                         MOOT.

                4.       Plaintiffs’ claim for a refund of fees under 42 U.S.C. § 1983 is
                         DISMISSED WITH PREJUDICE.



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       5.     All remaining claims in Plaintiffs’ Amended Complaint (ECF No. 59)
              are DISMISSED WITHOUT PREJUDICE.

       6.     A separate order follows.

Dated: April 18, 2019.

                               ___/s/___________________________
                               Richard D. Bennett
                               United States District Judge




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